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                                              Presentment Date: May 24, 2012, 10:00 a.m., Eastern Time
                                              Objection Deadline: May 24, 2012, 9:00 a.m., Eastern Time

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Lydia Protopapas (LP 8089)                               Bruce S. Meyer (BM 3506)
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Facsimile: (310) 407-9090
Counsel to Defendants
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re                                                     )      Chapter 11
                                                          )
TRONOX INCORPORATED, et al.,                              )      Case No. 09-10156 (ALG)
                 Debtors.                                 )
                                                          )      Jointly Administered
TRONOX INCORPORATED, TRONOX WORLDWIDE LLC                 )
f/k/a Kerr-McGee Chemical Worldwide LLC, and              )
TRONOX LLC f/k/a Kerr-McGee Chemical LLC,                 )
                        Plaintiffs,                       )
v.                                                        )
                                                          )
KERR-MCGEE CORPORATION, KERR-MCGEE OIL & GAS
                                                          )
CORPORATION, KERR-MCGEE WORLDWIDE
                                                          )      Adv. Pro. No. 09-01198 (ALG)
CORPORATION, KERR-MCGEE INVESTMENT
                                                          )
CORPORATION, KERR-MCGEE CREDIT LLC, KERR-
                                                          )
MCGEE SHARED SERVICES COMPANY LLC, and KERR-
                                                          )
MCGEE STORED POWER COMPANY LLC
                                                          )
                        Defendants.                       )
                                                          )
THE UNITED STATES OF AMERICA,                             )
                    Plaintiff-Intervenor,                 )
                                                          )
v.
                                                          )
TRONOX, INC., TRONOX WORLDWIDE LLC, TRONOX                )
LLC, KERR-MCGEE CORPORATION and ANADARKO                  )
PETROLEUM CORPORATION,                                    )
                    Defendants.                           )




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                   NOTICE OF PRESENTMENT OF REPORTS AND
           RECOMMENDATIONS GRANTING IN PART DEFENDANTS’ MOTION
            FOR PARTIAL SUMMARY JUDGMENT AND LETTER REGARDING
         WHETHER TO RECOMMEND DISMISSAL WITH OR WITHOUT PREJUDICE

         PLEASE TAKE NOTICE that Anadarko Petroleum Corporation and Kerr-McGee Corporation,

on behalf of themselves and certain of their affiliates, will present the attached Report and

Recommendation Granting Defendants’ Motion for Partial Summary Judgment Seeking Dismissal of

Anadarko Petroleum Corporation as a Subsequent Transferee with Respect to all Alleged Fraudulent

Transfers (attached hereto as Exhibit A) and Report and Recommendation Granting Defendants’ Motion

for Partial Summary Judgment Seeking Dismissal of Constructive Fraudulent Transfer Claims Involving

Transfers Made by Tronox LLC (attached hereto as Exhibit B) (collectively, the “Reports and

Recommendations”) to the Honorable Allan L. Gropper, United States Bankruptcy Judge, at the United

States Bankruptcy Court for the Southern District of New York, Alexander Hamilton Custom House,

One Bowling Green, New York, New York 10004-1408, for signature on May 24, 2012 at 10:00 a.m.

(Eastern Time). At a hearing on May 8, 2012, the Court requested that Plaintiffs and Defendants each

submit a letter advising the Court of their respective position as to whether the Reports and

Recommendations should recommend dismissal with or without prejudice. Attached as Exhibit C is a

letter dated May 21, 2012 from Melanie Gray to the Court regarding that issue.

         PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the Reports and

Recommendations must comply with the Federal Rules of Bankruptcy Procedure and the Local

Bankruptcy Rules, must be set forth in a writing describing the basis therefore, and must be filed with the

Bankruptcy Court electronically in accordance with General Order M-242, as amended by General Order

M-269, by registered users of the Court’s electronic case filing system (the User’s Manual for the

Electronic Case Filing System can be found at www.nysb.uscourts.gov. the official website for the

Bankruptcy Court) and, by all other parties in interest, on a 3-1/2 inch disk, preferably in Portable

Document Format (PDF), Word or any other Windows-based word processing format (with a hard copy

delivered directly to Chambers) and served upon each of the following: (a) counsel to Plaintiffs, Kirkland


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& Ellis LLP, 300 North LaSalle Street, Chicago, Illinois 60654, Attn: Jeffrey Zeiger; (b) the United States

Attorney for the Southern District of New York, 86 Chambers Street, Third Floor, New York, New York

10007, Attn: Robert William Yalen; (c) counsel to Anadarko Petroleum Corporation and Kerr-McGee

Corporation, Weil, Gotshal & Manges LLP, 700 Louisiana, Suite 1600, Houston, Texas, 77002,

Attn: Melanie Gray and Lydia Protopapas; (d) counsel to Anadarko Petroleum Corporation and Kerr-

McGee Corporation, Weil, Gotshal & Manges LLP, 767 Fifth Avenue, New York, New York, 10153,

Attn: Richard Rothman; and (e) all persons or entities that have served and filed notices of appearance in

these chapter 11 cases pursuant to Rule 2002 of the Federal Rules of Bankruptcy Procedure (with service

on the Rule 2002 parties by email only), so as to be received not later than May 24, 2012 at 10:00 a.m.

(Eastern Time) (the “Objection Deadline”).

           PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed and received by

the parties set forth above, the Court will notify the parties of the date and time of the hearing to consider

the Reports and Recommendations and any Objections thereto. The parties are required to attend such

hearing, and failure to attend in person or by counsel may result in relief being granted or denied upon

default.

           PLEASE TAKE FURTHER NOTICE that if no written objection to the Reports and

Recommendations has been properly filed and served by the Objection Deadline, the Bankruptcy Court

may enter the Reports and Recommendations without a hearing.

Houston, Texas
Dated: May 21, 2012

                                                            /s/ Melanie Gray
Richard A. Rothman (RR 0507)                               Melanie Gray (admitted pro hac vice)
Bruce S. Meyer (BM 3506)                                   Lydia Protopapas (LP 8089)
WEIL, GOTSHAL & MANGES LLP                                 Jason W. Billeck (admitted pro hac vice)
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New York, New York 10153                                   700 Louisiana, Suite 1600
Telephone: (212) 310-8000                                  Houston, Texas 77002
Facsimile: (212) 310-8007                                  Telephone: (713) 546-5000
                                                           Facsimile: (713) 224-9511




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Thomas R. Lotterman (admitted pro hac vice)          James J. Dragna (admitted pro hac vice)
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2020 K Street, NW                                    Los Angeles, California 90071
Washington, DC 20006                                 Telephone: (213) 680-6400
Telephone: (202) 373-6000                            Facsimile: (213) 680-6499
Facsimile: (202) 373-6001                            Counsel to Defendants

                                                     Kenneth N. Klee (KK 5910)
                                                     David M. Stern (admitted pro hac vice)
                                                     KLEE, TUCHIN, BOGDANOFF & STERN LLP
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                                                     Los Angeles, California 90067-6049
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                                                     Facsimile: (310) 407-9090




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                                     CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on May 21, 2012, a true and correct copy of the foregoing

Notice of Presentment of Reports and Recommendations Granting in Part Defendants’ Motion for Partial

Summary Judgment and Letter Regarding Whether to Recommend Dismissal With or Without Prejudice

was served on the following counsel of record as indicated below.

Via email david.zott@kirkland.com,
jeffrey.zeiger@kirkland.com and
jzeiger@kirkland.com
David J. Zott
Jeffrey J. Zeiger
KIRKLAND & ELLIS LLP
300 North LaSalle Street
Chicago, Illinois 60654

Via email jonathan.henes@kirkland.com
Jonathan S. Henes
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, New York 10022

Via email joseph.pantoja@usdoj.gov and
robert.yalen@usdoj.gov
Joseph Pantoja
Robert Yalen
Assistant U.S. Attorney
SOUTHERN DISTRICT OF NEW YORK
86 Chambers Street
New York, New York 10007


Houston, Texas                                           /s/ Rene Olvera
Dated: May 21, 2012                                     Rene Olvera




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                                     Exhibit A




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                     )
In re                                )              Chapter 11
                                     )
TRONOX INCORPORATED, et al.,         )              Case No. 09-10156 (ALG)
                                     )
              Debtors.               )              Jointly Administered
___________________________________ )
                                     )
TRONOX INCORPORATED, TRONOX          )
WORLDWIDE LLC f/k/a Kerr-McGee       )
Chemical Worldwide LLC, and TRONOX   )
LLC f/k/a Kerr-McGee Chemical LLC,   )
                                     )
              Plaintiffs,            )
                                     )
                     v.              )              Adversary Proceeding No. 09-01198
                                     )
KERR-MCGEE CORPORATION, KERR-        )
MCGEE OIL & GAS CORPORATION,         )
KERR-MCGEE WORLDWIDE                 )
CORPORATION, KERR-MCGEE              )
INVESTMENT CORPORATION, KERR-        )
MCGEE CREDIT LLC, KERR-MCGEE         )
SHARED SERVICES COMPANY LLC,         )
and KERR-MCGEE STORED POWER          )
COMPANY LLC,                         )
                                     )
              Defendants.            )
 ___________________________________ )
                                     )
THE UNITED STATES OF AMERICA,        )
                                     )
               Plaintiff-Intervenor, )
                                     )
                     v.              )
                                     )
TRONOX, INC., TRONOX WORLDWIDE )
LLC, TRONOX LLC, KERR-MCGEE          )
CORPORATION, and ANADARKO            )
PETROLEUM CORPORATION,               )
                                     )
               Defendants.           )
                                     )




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    REPORT AND RECOMMENDATION GRANTING DEFENDANTS’ MOTION
       FOR PARTIAL SUMMARY JUDGMENT SEEKING DISMISSAL OF
        ANADARKO PETROLEUM CORPORATION AS A SUBSEQUENT
  TRANSFEREE WITH RESPECT TO ALL ALLEGED FRAUDULENT TRANSFERS

         Upon consideration the filings submitted by the parties and arguments presented at the

May 8, 2012 hearing (the “Hearing”) on Defendants’ Motion For Partial Summary Judgment

Seeking Dismissal Of (I) Constructive Fraudulent Transfer Claims Involving Transfers Made By

Tronox LLC; (II) Anadarko Petroleum Corporation As A Subsequent Transferee With Respect

To All Alleged Fraudulent Transfers; And (III) All Actual And Constructive Fraudulent Transfer

Claims Protected by Section 546(e) Of The Bankruptcy Code [Dkt. No. 307] (the “Motion”),

and for the reasons set forth on the record by the Court at the Hearing, and to the extent the Court

has authority consistent with Article III of the United States Constitution and pursuant to Local

Bankruptcy Rule 9033-1, IT IS HEREBY RECOMMENDED TO THE UNITED STATES

DISTRICT COURT THAT IT:

         1.        grant the Motion in part;

         2.        find that Defendant Anadarko Petroleum Company (“Anadarko”) is not an

initial, mediate, immediate or subsequent transferee under 11 U.S.C. § 550; and

         3.        dismiss Counts I, II and III of Plaintiffs’ Second Amended Adversary Complaint

[Dkt. No. 223] with prejudice as to Anadarko.

New York, New York
Dated: __________, 2012
                                               ______________________________________
                                                     United States Bankruptcy Judge




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                                     Exhibit B




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
                                          )
In re                                     )         Chapter 11
                                          )
TRONOX INCORPORATED, et al.,              )         Case No. 09-10156 (ALG)
                                          )
               Debtors.                   )         Jointly Administered
___________________________________       )
                                          )
TRONOX INCORPORATED, TRONOX               )
WORLDWIDE LLC f/k/a Kerr-McGee            )
Chemical Worldwide LLC, and TRONOX LLC )
f/k/a Kerr-McGee Chemical LLC,            )
                                          )
               Plaintiffs,                )
                                          )
                       v.                 )         Adversary Proceeding No. 09-01198
                                          )
KERR-MCGEE CORPORATION, KERR-             )
MCGEE OIL & GAS CORPORATION, KERR- )
MCGEE WORLDWIDE CORPORATION,              )
KERR-MCGEE INVESTMENT                     )
CORPORATION, KERR-MCGEE CREDIT            )
LLC, KERR-MCGEE SHARED SERVICES           )
COMPANY LLC, and KERR-MCGEE               )
STORED POWER COMPANY LLC,                 )
                                          )
                                          )
               Defendants.                )
      ___________________________________ )
                                          )
THE UNITED STATES OF AMERICA,             )
                                          )
                Plaintiff-Intervenor,     )
                                          )
                       v.                 )
                                          )
TRONOX, INC., TRONOX WORLDWIDE            )
LLC, TRONOX LLC, KERR-MCGEE               )
CORPORATION, and ANADARKO                 )
PETROLEUM CORPORATION,                    )
                                          )
                Defendants.               )
                                          )




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 REPORT AND RECOMMENDATION GRANTING DEFENDANTS’ MOTION FOR PARTIAL
   SUMMARY JUDGMENT SEEKING DISMISSAL OF CONSTRUCTIVE FRAUDULENT
       TRANSFER CLAIMS INVOLVING TRANSFERS MADE BY TRONOX LLC

         Upon consideration of Plaintiffs’ stipulation in the Joint Pretrial Order filed May 4, 2012

[Dkt. No. 383] and the filings submitted by the parties in support of and in opposition to Defendants’

Motion For Partial Summary Judgment Seeking Dismissal Of (I) Constructive Fraudulent Transfer

Claims Involving Transfers Made By Tronox LLC; (II) Anadarko Petroleum Corporation As A

Subsequent Transferee With Respect To All Alleged Fraudulent Transfers; And (III) All Actual And

Constructive Fraudulent Transfer Claims Protected by Section 546(e) Of The Bankruptcy Code [Dkt.

No. 307] (the “Motion”), and to the extent the Court has authority consistent with Article III of the

United States Constitution and pursuant to Local Bankruptcy Rule 9033-1, IT IS HEREBY

RECOMMENDED TO THE UNITED STATES DISTRICT COURT THAT IT:

         1.        grant the Motion in part;

         2.        find that Plaintiff Tronox LLC received reasonably equivalent value as a result of

the transfers at issue in this Adversary Proceeding for the purposes of 11 U.S.C. §§ 544 & 548

and the Oklahoma Uniform Fraudulent Transfer Act; and

         3.        dismiss Plaintiff Tronox LLC’s claims for constructive fraudulent transfer under

Counts II and III of the Second Amended Adversary Complaint [Dkt. No. 223] with prejudice.

New York, New York
Dated: __________, 2012
                                                 ______________________________________
                                                        United States Bankruptcy Judge




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                                        Exhibit C




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                                                                                                                  Melanie Gray
                                                                                                               +1 713 546 5045
May 21, 2012                                                                                             melanie.gray@weil.com



Hon. Allan L. Gropper
United States Bankruptcy Court
Alexander Hamilton Custom House
One Bowling Green
New York, New York 10004-1408

Re:      Tronox Incorporated, et al. v. Anadarko Petroleum Corporation, et al.; Adv. Proc. No. 09-01198

Dear Judge Gropper,

Pursuant to the Court’s request at the hearing held on May 8, 2012 (the “Hearing”), Anadarko Petroleum
Corporation (“Anadarko”), Kerr-McGee Corporation and certain of their affiliates (collectively, the
“Defendants”), respectfully request a report and recommendation1 dismissing, with prejudice, (i) all claims of
Tronox Incorporated, Tronox Worldwide LLC, Tronox LLC, and the litigation trustee as successor to such
plaintiffs (collectively, the “Plaintiffs”), against Anadarko (the “Anadarko Claims”) under Counts I, II and III of
the Second Amended Adversary Complaint (the “Complaint”), and (ii) all constructive fraudulent transfer claims
involving transfers made by Tronox LLC under Counts II and III of the Complaint (the “Tronox LLC Claims”).2

With respect to the Anadarko Claims, Plaintiffs requested at the Hearing that “the Court . . . dismiss Anadarko
without prejudice . . . so as not to foreclose [Plaintiffs’] ability to [later] pursue Anadarko as a subsequent
transferee” should new facts arise establishing a basis for such liability.3 With respect to the Tronox LLC Claims,

1
      See Motion for Partial Summary Judgment Seeking Dismissal of (I) Constructive Fraudulent Transfer Claims Involving
      Transfers Made by Tronox LLC; (II) Anadarko Petroleum Corporation as a Subsequent Transferee with Respect to All
      Alleged Fraudulent Transfers; and (III) All Actual and Constructive Fraudulent Transfer Claims Protected by Section
      546(e) of the Bankruptcy Code (Dkt. No. 307) (the “Motion”), at 3 n.4 (clarifying that Defendants seek only a report
      and recommendation of dismissal from the bankruptcy court).
2
      For the reasons explained in Defendants’ Notification of Lack of Consent to Final Adjudication of Fraudulent Transfer
      Claims and Motion for Leave Regarding Fiduciary Duty Claim (Dkt. No. 308), and in the reply in support thereof (Dkt.
      No. 369), Defendants do not seek a final order dismissing the Anadarko Claims or the Tronox LLC Claims, but only a
      report and recommendation. An opinion issued the day after the Hearing by Judge Rakoff underscores the rationale for
      Defendants’ request. See Kirschner v. Agoglia, 11 Civ. 8250, 2012 WL 1622496, at *3-4, 10 (S.D.N.Y. May 9, 2012)
      (holding that fraudulent transfer claims involve private rights that may be adjudicated only by an Article III court and
      that “even assuming that [consent] would make a difference,” the movants had not consented) (internal citation
      omitted).
3
      May 8, 2012 Hr’g Tr. at 23:9-24:3.



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Honorable Allan L. Gropper
May 21, 2012
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Plaintiffs stipulated to the dismissal of such claims in the pre-trial order,4 however, the pre-trial order does not
specify whether such dismissal is with or without prejudice. Nonetheless, Defendants made clear in their reply to
the Motion that their consent to Plaintiffs’ dismissal was premised on the dismissal being with prejudice and on
the basis that Tronox LLC received reasonably equivalent value for its transfers.5 Defendants now submit an
appropriately styled report and recommendation giving effect to Plaintiffs’ dismissal of the Tronox LLC Claims
on that basis.

Plaintiffs should not be permitted to avoid the consequences of adverse rulings by either seeking dismissal
without prejudice (as in the case of the Anadarko Claims) or consenting to dismissal without prejudice (as in the
case of the Tronox LLC Claims). Pursuant to Rule 56, Defendants are “entitled to judgment as a matter of law”6
and a “full measure of relief”7 that will both prevent relitigation of matters “raised and decided in a previous suit”8
and eliminate the cost and vexation of multiple suits.9 In requesting dismissal without prejudice, Plaintiffs
improperly seek to retain the ability to relitigate (i) the Anadarko Claims despite a massive four-plus year
discovery effort10 which has failed to uncover a single item of evidence supporting these claims, and (ii) the
Tronox LLC Claims, which Plaintiffs did not even bother to argue in their response to the Motion given the
complete absence of any supporting evidence. As explained by the United States Supreme Court, a principal
purpose “of the summary judgment rule is to isolate and dispose of factually unsupported claims or defenses, and
we think [Rule 56] should be interpreted in a way that allows it to accomplish this purpose.”11 A “without
prejudice” dismissal of the Anadarko and Tronox LLC Claims would offend this principle, fail to finally dispose
of these deficient claims and potentially require Defendants to relitigate them—at great expense—despite the fact
that Defendants have already demonstrated that they are meritless. Many other courts have rejected similar
attempts to “avoid the prospect of an adverse decision” on a motion for summary judgment “by dismissing a
claim without prejudice.”12 Defendants submit that this Court should follow suit.

4
      See Joint Pretrial Order (Dkt. No. 383).
5
      Defendants’ Reply to Plaintiffs’ Opposition to the Motion, (Dkt. No. 356), at 3 n.6.
6
      See FED. R. CIV. PROC. 56; Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (“The moving party is ‘entitled to a
      judgment as a matter of law’ because the nonmoving party has failed to make a sufficient showing on an essential
      element of her case with respect to which she has the burden of proof.”); see also Yeiser v. GMAC Mortg. Corp., 535 F.
      Supp. 2d 413, 421 (S.D.N.Y. 2008) (“It is long settled . . . that a summary judgment dismissal is considered a decision
      on the merits for res judicata purposes.”) (citing Weston Funding Corp. v. Lafayette Towers, Inc., 550 F.2d 710, 715
      (2d Cir. 1977)).
7
      Murphy v. Gallagher, 761 F.2d 878, 879 (2d Cir. 1985) (quoting Kaspar Wire Works, Inc. v. Leco Eng’g & Mach., Inc.,
      575 F.2d 530, 535 (5th Cir. 1978)).
8
      Id.
9
      Allen v. McCurry, 449 U.S. 90, 94 (1980).
10
      Although the pending litigation was initiated in May 2009, very significant discovery was provided to the United States
      government by both Plaintiffs and Defendants prior to the initiation of this lawsuit.
11
      Celotex, 477 U.S. at 323-24.
12
      Galasso v. Eisman, Zucker, Klein & Ruttenberg, 310 F. Supp. 2d 569, 572 (S.D.N.Y. 2004) (denying the plaintiff’s
      motion to dismiss because “a party should not be permitted to avoid the prospect of an adverse decision on a dispositive
      motion by dismissing a claim without prejudice”) (citing Zagano v. Fordham Univ., 900 F.2d 12, 14 (2d Cir. 1990)


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Honorable Allan L. Gropper
May 21, 2012
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As Plaintiffs either expressly or implicitly seek dismissal of the Anadarko and Tronox LLC Claims without
prejudice, the propriety of their requests should be informed by the standards of Rules 41(a)(2) and 15.13 These
rules permit dismissal without prejudice only where Defendants will not be prejudiced.14 In making this prejudice
determination, the Second Circuit considers “the extent to which the suit has progressed, including the
defendant’s efforts and expense in preparation for trial.”15 Here, Defendants have expended substantial effort and
incurred great expense during the three-year course of this litigation.16 Fact and expert discovery has resulted in
the production of over 10 million pages of documents, the initial, response, reply and surrebuttal reports of
approximately 17 experts and over 80 fact and expert depositions.17 Despite this immense discovery undertaking,
Plaintiffs have no evidence whatsoever supporting either the Anadarko or Tronox LLC Claims. This is true even
though Plaintiffs were specifically challenged to produce such evidence in the Motion. It will be highly
prejudicial to Defendants if, at this advanced stage of the litigation, Plaintiffs are permitted to dismiss their
unsupported claims without prejudice and later require Defendants to relitigate them. These claims have been at
issue since the very outset of this litigation and the absence of any supporting evidence is not the result of

      (affirming denial of the plaintiff’s motion for dismissal without prejudice where plaintiff’s purpose for filing the motion
      was to avoid an actual adjudication of her claims); Manti Transp., Inc., v. Assoc. Commercial Corp., No. 00 Civ. 6807,
      2002 WL 369807, at *4-5 (E.D.N.Y. Mar. 8, 2002) (denying the plaintiff’s motion to dismiss without prejudice because
      “dismissal without prejudice would be manifestly prejudicial to defendant”); Pace v. S. Exp. Co., 409 F.2d 331, 334 (7th
      Cir. 1969) (upholding the trial court’s denial of the plaintiff’s motion to dismiss without prejudice where, after the
      defendant had moved for summary judgment, the plaintiff “had ample opportunity to show that there were justiciable
      issues involved, but has failed to make such a showing”); Phillips USA, Inc. v. Allflex USA, Inc., 77 F.3d 354, 358 (10th
      Cir. 1996) (affirming denial of the plaintiff’s motion to dismiss without prejudice because “a party should not be
      permitted to avoid the prospect of an adverse decision on a dispositive motion by dismissing a claim without
      prejudice”)); Toolasprashad v. Schult, 9:10-CV-1050, 2011 WL 3157290, at *3 (N.D.N.Y. July 26, 2011) (rejecting
      dismissal without prejudice and explaining, “given that Judge Homer recommended dismissal of Petitioner’s claims,
      Petitioner’s attempt to now have the case dismissed without prejudice suggests a motive to avoid being bound by an
      adverse decision”); Giguere’s Supermarkets, Inc. v. Hannaford Bros. Co., No. 81-2043-MA, 1983 WL 1788, at *2 (D.
      Mass. Feb. 7, 1983) (stating that plaintiffs’ motion for dismissal without prejudice “should not be used to circumvent a
      prospective and imminent ruling on summary judgment and the subsequent effects of such a ruling”).
13
      Dismissal of an action under Rule 41(a)(2) and dismissal of a claim under Rule 15 are governed by the same standard.
      Wakefield v. N. Telecom, Inc., 769 F.2d 109, 114 n.4 (2d Cir. 1985).
14
      D’Alto v. Dahon Cal., Inc., 100 F.3d 281, 283 (2d Cir. 1996) (“A voluntary dismissal without prejudice under Rule
      41(a)(2) will be allowed ‘if the defendant will not be prejudiced thereby.’”).
15
      Id. at 283 (The factors courts in the Second Circuit consider in determining whether a defendant will be prejudiced
      include: “[1] the plaintiff's diligence in bringing the motion; [2] any ‘undue vexatiousness’ on plaintiff’s part; [3] the
      extent to which the suit has progressed, including the defendant’s efforts and expense in preparation for trial; [4] the
      duplicative expense of relitigation; and [5] the adequacy of plaintiff’s explanation for the need to dismiss.” (quoting
      Zagano, 900 F.2d at 14)).
16
      See Zagano, 900 F.2d at 14 (holding that plaintiff’s motion to dismiss without prejudice was “far too late” where
      litigation had been “vigorously contested” for over four years); Bosteve Ltd. v. Marauszwki, 110 F.R.D. 257, 259
      (E.D.N.Y. 1986) (denying the plaintiffs’ request for dismissal without prejudice because, inter alia, the action had
      “been pending for nearly two years,” during which time the “defendant [had] expended substantial sums on pretrial
      discovery and counsel fees”).
17
      See Bosteve Ltd., 110 F.R.D. at 259; Comunidad Autonoma del Pais Vasco v. Am. Bureau of Shipping, Inc., 04CIV.671,
      2006 WL 2254958, at *4 (S.D.N.Y. Aug. 4, 2006) (explaining that the “completion of substantial discovery is
      sufficient” for a defendant to suffer prejudice).



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May 21, 2012
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happenstance, but the unfounded nature of the claims. The passage of yet more time will not validate these
invalid claims.

In addition to the stage of the litigation, courts within the Second Circuit also consider whether a plaintiff has
timely requested the dismissal and adequately articulated a rationale for a dismissal “without prejudice.” Courts
reject an inadequately explained request made in the face of a summary judgment motion on the rationale that
such request is merely calculated to circumvent an adverse ruling.18 Here, Plaintiffs’ requested “without
prejudice” dismissal of the Anadarko Claims was made at the Hearing on the Motion, and was clearly intended to
avert the consequences of an adverse ruling as it was, in fact, offered only in the event the Court ruled in
Defendants’ favor. Under the circumstances, Plaintiffs’ request cannot be explained as anything other than an
effort to avoid being bound by an adverse ruling. Moreover, Plaintiffs’ suggested rationale for dismissing the
Anadarko Claims without prejudice—that new facts may turn up at trial—is legally insufficient. The Second
Circuit has specifically held that a party may not escape an adverse ruling “in the hopes that ‘something will turn
up’” and indeed “the text and policy behind Rule 56 . . . was intended to prevent such [a result].”19 Because
Plaintiffs’ requested dismissal without prejudice was both untimely and unsupported by a legally cognizable
rationale, the Court should reject such request as an impermissible attempt to circumvent an adverse ruling.

The same goes for Plaintiffs’ implicit effort to procure a “without prejudice” dismissal of the Tronox LLC
Claims. Plaintiffs only agreed to dismiss the Tronox LLC Claims in response to a summary judgment motion and
they have not offered any rationale supporting a “without prejudice” dismissal of those claims. As such, any
dismissal of the Tronox LLC claims should be with prejudice.
For all of the foregoing reasons, the Court should recommend that the Anadarko and Tronox Claims be dismissed
with prejudice to refiling so that these factually unsupported claims may be properly disposed of pursuant to
Rule 56, judicial resources may be preserved and Defendants may be protected from the cost and vexation of
multiple suits on these claims.
Sincerely,

/s/ Melanie Gray

Melanie Gray

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18
      See supra n. 12.
19
      Weinstock v. Columbia Univ., 224 F.3d 33, 49-50 (2d Cir. 2000) (“Plaintiff would have us follow the advice of David
      Copperfield’s mentor, the amicable Mr. Micawber, and let matters proceed in the hope that ‘something will turn up.’
      This notion is inconsistent with the text and policy behind Rule 56 of the Federal Rules of Civil Procedure, which was
      intended to prevent such calendar profligacy.”).



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